               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ERNEST KEISTER,           :                        No. 4:13-cv-00118
                          :
         Plaintiff,       :
                          :
     v.                   :                        (Judge Brann)
                          :
PPL CORPORATION,          :
INTERNATIONAL BROTHERHOOD :
OF ELECTRICAL WORKERS,    :
LOCAL 1600,               :
                          :
         Defendants.      :

                                MEMORANDUM

                                 October 6, 2015

      This decision evaluates dual Motions for Summary Judgment filed by

Defendants PPL Corporation and the International Brotherhood of Electrical

Workers Local 1600 Union, as well as a Motion for Rule 11 Sanctions filed solely

by PPL. Because the Court finds that there are no genuine issues of material fact

precluding summary judgment on any of Plaintiff’s claims, Defendants’ Motions

for Summary Judgment are both granted in full. In addition, PPL’s Motion for Rule

11 Sanctions is held in abeyance pending a hearing before this Court.

I. BACKGROUND

      A. Plaintiff’s Employment and Bargaining History with Defendants

      Plaintiff Ernest Keister was born on December 23, 1947. ECF No. 27 at 5.


                                         1
He has resided at 11 Laurel Park Lane, Millmont, Union County, Pennsylvania

uninterrupted for at least the past twenty years. Id. at 1; ECF No. 40, Ex. 3 at 1;

ECF No. 50 at 1. Plaintiff first became an employee of Defendant PPL in 1978. 1

ECF No. 27 at 2; ECF No. 40 at 1. Plaintiff worked for PPL for more than thirty-

four (34) years. ECF No. 27 at 2. He began his employment with PPL as a

handyman working in operations at its Sunbury, Northumberland County,

Pennsylvania plant. ECF No. 27 at 2; ECF No. 42 at 7; ECF No. 4, Ex. 4 at 8.

After working in that capacity, Plaintiff bid on and was awarded a technical

assistant position in PPL’s Susquehanna Steam Electric Station, located adjacent to

the Susquehanna River in Berwick, Luzerne County, Pennsylvania. ECF No. 40,

Ex. 4 at 8. At all relevant times, Plaintiff was also a member of Defendant

International Brotherhood of Electrical Workers Local 1600 (“Union”). Id.

         During his employment with PPL, Plaintiff held the titles of “Technical

Assistant Susquehanna,” “Senior Technical Assistant Susquehanna,” and “Nuclear

Information Services Technician.” ECF No. 27 at 2. Plaintiff was a contact for

computer services at PPL since December of 1981, during which time he designed,

implemented, and maintained the IBM Mainframe, the Token Ring, and the

Ethernet. Id. Plaintiff also managed the initial installations and the technological


1
    According to PPL, Plaintiff erroneously listed his official employer as PPL Corporation or PPL
    Services Corporation. PPL states that “[a]t all relevant times, Plaintiff’s actual employer was
    PPL Susquehanna, LLC (since renamed ‘Susquehanna Nuclear, LLC’).” ECF No. 40 at 1 n.1.
                                                 2
changes that occurred in the various buildings over the years. Id. Plaintiff’s Second

Amended Complaint further outlines a number of managerial tasks he would

routinely perform at the Susquehanna plant, all of which Plaintiff suggests fell

outside the scope of his official job description. Id. at 3. Thus, Plaintiff’s core

allegations are that “[his] job description and his pay grade do not reflect his actual

job duties, and he is not being paid for what he is actually doing,” and that

“Defendants has [sic] not been serious in its [sic] efforts to remedy the pay

disparity and job classification issue.” Id. at 3–4.

      B. The Collective Bargaining Agreement, Plaintiff’s Reevaluation
         Requests, and Plaintiff’s Communication with the Union

      Plaintiff, as a Union member, was party to a Collective Bargaining

Agreement (“CBA”) with PPL. ECF 40, Ex. 3 at 5; ECF 50 at 30. That CBA

includes a specific process to request a job reevaluation and the recourse available

to employees who are dissatisfied with the results of such a request. ECF 40, Ex. 3

at 5; ECF 50 at 30. In this regard, if a job reevaluation request is not approved, a

bargaining unit employee, such as Plaintiff, may appeal the decision. If the Union

and PPL still disagree, any bargaining unit employee could proceed by initiating

the grievance process. ECF 40, Ex. 3 at 5; ECF 50 at 30.

      Specifically, Article VI, Section 1 of the CBA provides in pertinent part that:

      The Company will prepare new or eliminate old job titles and
      descriptions or otherwise revise or modify them when necessary to
      meet changed conditions. Requests for new jobs and requests for re-

                                            3
      evaluation for existing jobs will be handled in accordance with
      Exhibit N.

ECF No. 40, Ex. 4 at 66 (underlining in original). Under the heading “Existing
Jobs,” Exhibit N provides in pertinent part that:

      1. A request to re-evaluate an existing job description may be
         initiated by an incumbent employee or appropriate supervisor.

      ...

      5. If the request is not approved by the Company, Bargaining Unit
         employees may appeal the decision to the IBEW Local 1600
         office.

      6. Disagreements between the Company and Local 1600 regarding
         whether to submit an existing position for re-evaluation shall be
         resolved through the grievance procedure.

ECF No. 40, Ex. 4 at 67–68.

      On or about June 13, 1986, Plaintiff requested a job reevaluation due to his

work with the computers and related infrastructure. ECF 40, Ex. 3 at 4; ECF 50 at

30. Plaintiff was thirty-nine (39) years-old at the time he made that request. ECF

40, Ex. 3 at 4; ECF 50 at 30. PPL took no action on Plaintiff’s request, and

Plaintiff never filed a formal complaint, charge, or grievance with the Union

contesting this determination. ECF 40, Ex. 3 at 4; ECF 50 at 30.

      Plaintiff subsequently submitted another request for job reevaluation on or

about July 31, 2000. ECF 40, Ex. 3 at 5; ECF 50 at 30. After that request, Plaintiff

was provided with a new job title, a new pay rate, and back pay. ECF No. 40, Ex. 4

at 24. The July 2000 request was Plaintiff’s last formal job reevaluation request
                                          4
until the May 2011 request at issue in this dispute. Id. at 24–26.2

         On May 4, 2011, Plaintiff contacted Richard John Sopko, Chief Steward for

the Union at the Susquehanna plant. ECF No. 50 at 39. Sopko told Plaintiff:

         The union has no interest in giving up a [bargaining unit] position. If
         the company wants to create a new management job and put you in it,
         that can be at their discretion. . . . If your intent is to turn your current
         position into a management job, I can’t help you with that. Sorry.

Id.

         Sopko, in a follow-up email sent two minutes after the initial

correspondence, wrote:

         The union will still support a job re-eval to determine if the position is
         paid correctly. You know I believe it is too low.

Id.

         Plaintiff then submitted a job reevaluation request to PPL on or about May

4, 2011. ECF No. 40, Ex. 3 at 9; ECF No 50 at 33. PPL took no action on the May

2011 request. ECF No. 40, Ex. 3 at 9; ECF No 50 at 33.

         On March 20, 2012 Plaintiff received a similar response during a phone

conversation with Daniel Zerbe, a Business Representative for the Union. ECF No.

50 at 33. During that conversation, Zerbe told Plaintiff that:

         [H]e should stop his efforts and that Local 1600 would not support

2
    The record indicates that there was potentially one additional request sometime between 2000
    and 2011, though the date was never established, and Plaintiff admits he never filed any formal
    grievance in relation to it. ECF No. 40, Ex. 4 at 26. Because Plaintiff’s deposition testimony is
    inconclusive on the issue and even indicates the date on the document may have been missing,
    id., the Court focuses on the May 2011 request, which is the only one at issue here.
                                                   5
       moving his job out of the bargaining unit.

Id. at 34, 41–45. Zerbe explained that he also told Plaintiff:

       I told him he should file a Request for Job Evaluation/Reevaluation.
       . . . I told him to speak to Sopko to file a grievance.

Id. at 44.

       Both Sopko and Zerbe pointed Plaintiff toward the appropriate channels for

initiating a formal grievance, but Plaintiff never filed a grievance or requested that

a grievance be filed on his behalf in regard to his May 4, 2011 job reevaluation

request. ECF No. 40, Ex. 3 at 10; ECF No 50 at 33.

       C. Procedural Posture

       Plaintiff filed his United States Equal Employment Opportunity Commission

(“EEOC”) Charge alleging age discrimination on June 28, 2011, ECF No. 40, Ex.

4 at 44. On August 30, 2012, the EEOC mailed Plaintiff a “Dismissal and Notice

of Rights,” stating that any subsequent lawsuit Plaintiff sought to initiate “must be

filed WITHIN 90 DAYS of [his] receipt of this notice.” ECF No. 40, Ex. 4 at 49

(capitalization and underlining in original). That right-to-sue letter was addressed

to “Ernest Keister” at “11 Laurel Park Lane, Millmont, PA 17845.” Id. According

to Plaintiff, he had previously received “multiple correspondences from the EEOC,

which were all addressed to him” at the same record address used in the right-to-

sue letter. ECF No. 40, Ex. 3 at 1–2; ECF No. 50 at 1. According to Plaintiff, the

right-to-sue letter was erroneously addressed to his Counsel’s old office. ECF No.

                                           6
40, Ex. 4 at 50. Plaintiff’s Counsel did not contact the EEOC regarding his non-

receipt of the letter until December 21, 2012. Id.

      On January 17, 2013, Plaintiff filed a Complaint (ECF No. 1) setting forth

two claims of discrimination on the basis of age—one under the Age

Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621 et seq. (“ADEA”)

and a second under the Pennsylvania Human Relations Act, 43 P.S. §§ 951 et seq.

(“PHRA”)—as well as a third claim alleging a violation of § 301 of the Labor

Management Relations Act of 1947, 29 U.S.C. § 185(a) (“LMRA”). Plaintiff

asserted all three claims against both Defendants.

      On March 14, 2013, PPL moved to dismiss the Complaint. ECF No. 8.

Plaintiff responded by filing an Amended Complaint on April 15, 2013. ECF No.

14. Plaintiff’s Amended Complaint contained the same three claims, each alleged

against both defendants, but included additional averments. On May 1, 2013, PPL

moved to dismiss the Amended Complaint. ECF No. 16. The Union moved to

dismiss the Amended Complaint on June 11, 2013. ECF No. 20.

      On June 24, 2013, Plaintiff moved for leave to file a Second Amended

Complaint. ECF No. 21, which this Court granted on June 13, 2014. ECF No. 25.

The Second Amended Complaint included the same three causes of action, but

named PPL as the only defendant on the ADEA and PHRA claims. ECF No. 27.

Plaintiff maintained that both Defendants violated § 301 of the LMRA. Id. The


                                          7
Second Amended Complaint also supplemented various averments in support of

Plaintiff’s theories. Id.

         Further clarification of the exact evidence on which Plaintiff’s claims are

based was largely stymied by certain failures in Plaintiff’s filings. These failures

included: his incomplete response to certain of PPL’s key Undisputed Facts;3 his

decision not to address any of the Union’s Undisputed Facts and instead merely

attach a copy of his responses to PPL’s Undisputed Facts when answering the

Union’s motion;4 and a seeming disconnect at several important junctures between

the allegations in Plaintiff’s Second Amended Complaint and the actual evidence

adduced by Plaintiff during discovery5—all conduct that Plaintiff will answer for



3
    See ECF No. 50 at 34 (“[T]he balance of Defendant’s SUMF Paragraph 71 violates the
    proscription set forth in F.R.C.P. No. 56 (c) (2) (B) [sic] by including statements of opinion not
    supported by the record and therefore not admissible at trial.”). See also ECF No. 50 at 30. For
    starters, the Court observes that Fed. R. Civ. P. 56(c)(2)(B) does not exist. However, even if it
    did, this Court would certainly not exclude a Plaintiff’s prime evidentiary justification for his
    claims as inadmissible “opinion.” Further, this Court cautions that refusing to supply such
    critical backing for one’s claim may warrant a negative inference that such evidence is
    nonexistent. As PPL has observed, “Plaintiff cannot refuse to admit sworn statements and then
    conjure facts in a futile effort to create a triable issue.” ECF No. 51 at 4.
4
    As a consequence and in accordance with Middle District of Pennsylvania Local Rule 56.1, the
    Court deems as admitted any facts submitted by the Union not explicitly controverted by
    Plaintiff’s response to PPL’s Undisputed Facts.
5
    See PPL’s Br. in Supp. of its Mot. for Rule 11 Sanctions, ECF No. 39 at 22 n.2 “By way of
    example, the Second Amended Complaint filed by Attorney Russo alleges that “PPL has hired
    younger employees into similar positions that were doing the same amount of work.” Second
    Amended Complaint, ¶ 31. Plaintiff not only testified that he is the “only person” who
    performs his position but that he cannot name a single significantly younger employee who
    was treated more favorably. Exhibit A, pp. 62, 81, and 112.” The Court observes a similar
    inconsistency between Plaintiff’s Second Amended Complaint and his subsequent deposition
    testimony with regard to Plaintiff’s LMRA claim and the particular justification on which it
    was based. The Court reminds the Parties that Fed. R. Civ. P. 11(b) mandates that an attorney
                                                   8
in a subsequent Rule 11 Sanctions hearing before this Court.

      Both Defendants have filed Motions for Summary Judgment, ECF Nos. 36,

40, and PPL has individually filed a Motion for Rule 11 Sanctions against Plaintiff.

ECF No. 38. Because the Court agrees with Defendants that there are no genuine

disputes of material fact precluding summary judgment at this juncture,

Defendants’ Motions for Summary Judgment are both granted in full. As noted

above, PPL’s Motion for Rule 11 Sanctions is held in abeyance pending a hearing

before the Court.

II. STANDARD OF REVIEW

      Summary judgment is appropriate where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). “Facts that could alter the outcome are

‘material facts,’ see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986),

and disputes are ‘genuine’ if evidence exists from which a rational person could

conclude that the position of the person with the burden of proof on the disputed

issue is correct. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).” Clark v.

Modern Grp. Ltd., 9 F.3d 321, 326 (3d Cir. 1993) (Hutchinson, J.). “A defendant

meets this standard when there is an absence of evidence that rationally supports

the plaintiff’s case.” Id. “A plaintiff, on the other hand, must point to admissible

 conduct “an inquiry reasonable under the circumstances” into the law and facts prior to
 certification and filing in Federal Court.
                                               9
evidence that would be sufficient to show all elements of a prima facie case under

applicable substantive law.” Id. “One of the principal purposes of the summary

judgment rule is to isolate and dispose of factually unsupported claims or defenses,

and we think it should be interpreted in a way that allows it to accomplish this

purpose.” Celotex Corp., 477 U.S. at 323–24.

      “[T]he inquiry involved in a ruling on a motion for summary judgment or for

a directed verdict necessarily implicates the substantive evidentiary standard of

proof that would apply at the trial on the merits.” Liberty Lobby, Inc., 477 U.S. at

252. Thus, “[i]f the defendant in a run-of-the-mill civil case moves for summary

judgment or for a directed verdict based on the lack of proof of a material fact, the

judge must ask himself not whether he thinks the evidence unmistakably favors

one side or the other but whether a fair-minded jury could return a verdict for the

plaintiff on the evidence presented.” Id. “The mere existence of a scintilla of

evidence in support of the plaintiff’s position will be insufficient; there must be

evidence on which the jury could reasonably find for the plaintiff.” Id. “The

judge’s inquiry, therefore, unavoidably asks . . . ‘whether there is [evidence] upon

which a jury can properly proceed to find a verdict for the party producing it, upon

whom the onus of proof is imposed.’” Id. (quoting Schuylkill & Dauphin Imp. Co.

v. Munson, 81 U.S. 442, 447 (1871)).

      “[A] party seeking summary judgment always bears the initial responsibility


                                          10
of informing the district court of the basis for its motion, and identifying those

portions of the pleadings, depositions, answers to interrogatories, and admissions

on file, together with the affidavits, if any, which it believes demonstrate the

absence of a genuine issue of material fact.” Celotex Corp., 477 U.S. at 323

(internal quotations omitted). “[R]egardless of whether the moving party

accompanies its summary judgment motion with affidavits, the motion may, and

should, be granted so long as whatever is before the district court demonstrates that

the standard for the entry of summary judgment, as set forth in Rule 56(c), is

satisfied.” Id.

       Where the movant properly supports his motion, the nonmoving party, to

avoid summary judgment, must answer by setting forth “genuine factual issues that

properly can be resolved only by a finder of fact because they may reasonably be

resolved in favor of either party.” Liberty Lobby, Inc., 477 U.S. at 250. For

movants and nonmovants alike, the assertion “that a fact cannot be or is genuinely

disputed” must be supported by: (i) “citing to particular parts of materials in the

record” that go beyond “mere allegations”; (ii) “showing that the materials cited do

not establish the absence or presence of a genuine dispute”; or (iii) “showing . . .

that an adverse party cannot produce admissible evidence to support the fact.” Fed.

R. Civ. P. 56(c)(1).

       “When opposing summary judgment, the non-movant may not rest upon


                                          11
mere allegations, but rather must ‘identify those facts of record which would

contradict the facts identified by the movant.’” Port Auth. of N.Y. and N.J. v.

Affiliated FM Ins. Co., 311 F.3d 226, 233 (3d Cir.2003) (Weis, J.). Moreover, “[i]f

a party fails to properly support an assertion of fact or fails to properly address

another party’s assertion of fact as required by Rule 56(c), the court may . . .

consider the fact undisputed for purposes of the motion.” Fed. R. Civ. P. 56(e)(2).

On motion for summary judgment, “[t]he court need consider only the cited

materials, but it may consider other materials in the record.” Fed. R. Civ. P.

56(c)(3).

      “[A]t the summary judgment stage the judge’s function is not himself to

weigh the evidence and determine the truth of the matter but to determine whether

there is a genuine issue for trial.” Liberty Lobby, Inc., 477 U.S. at 249. “[T]here is

no issue for trial unless there is sufficient evidence favoring the nonmoving party

for a jury to return a verdict for that party.” Id. “If the evidence is merely colorable

. . . or is not significantly probative, summary judgment may be granted.” Id. at

249–50 (internal citations omitted).

III. ANALYSIS

      A. Defendants’ Motions for Summary Judgment are granted as to
         Plaintiff’s LMRA claim.

      “It has long been established that an individual employee may bring suit

against his employer for breach of a collective bargaining agreement.” DelCostello
                                           12
v. Int’l Bhd. of Teamsters, 462 U.S. 151, 163 (1983). Generally, “an employee is

required to attempt to exhaust any grievance or arbitration remedies provided in

the collective bargaining agreement.” Id. However, when the employee’s union

“acts in such a discriminatory, dishonest, arbitrary, or perfunctory fashion as to

breach its duty of fair representation,” the default exhaustion requirement “works

an unacceptable injustice.” Id. at 164.

      When both the employer and the union are allegedly at fault, an employee

may initiate a “hybrid” claim. Id. at 165. These “hybrid” claims “comprise two

causes of action”: the employer’s breach of a collective bargaining agreement

under § 301 of the Labor Management Relations Act, 29 U.S.C. § 185, and the

union’s breach of its duty of fair representation under the National Labor Relations

Act, 29 U.S.C. § 151 et seq. DelCostello, 462 U.S. at 164. “Such a hybrid action

really alleges that the process of collective bargaining has broken down.” Podobnik

v. U.S. Postal Serv., 409 F.3d 584, 593 (3d Cir. 2005) (quoting United

Steelworkers v. Crown Cork & Seal Co., 32 F.3d 53, 58 (3d Cir.1994)).

      In such a “hybrid” action, “the two claims are inextricably interdependent.”

DelCostello, 462 U.S. at 164. For instance, for a “hybrid” action whose underlying

claim is wrongful discharge, “[t]o prevail against either the company or the Union,

. . . [employee-plaintiffs] must not only show that their discharge was contrary to

the contract but must also carry the burden of demonstrating a breach of duty by


                                          13
the Union.” Id. at 194 (quoting United Parcel Serv., Inc. v. Mitchell, 451 U.S. 56,

66–67 (1983)). “The employee may, if he chooses, sue one defendant and not the

other; but the case he must prove is the same whether he sues one, the other, or

both.” DelCostello, 462 U.S. at 165. Such an action “is thus not a straightforward

breach of contract suit under § 301, . . . but a hybrid § 301/fair representation

claim, amounting to a direct challenge to the private settlement of disputes under

[the collective-bargaining agreement].” Id. (internal citations and quotations

omitted). In a hybrid § 301 claim, a plaintiff “must prove that the employer

breached the collective bargaining agreement in order to prevail on the breach of

duty of fair representation claim against the union and vice versa.” Podobnik, 409

F.3d at 594 (quoting Felice v. Sever, 985 F.2d 1221, 1226 (3d Cir.1993)).

      In this case, Plaintiff appears to base his LMRA claim on two purported

omissions by Defendants: failure to convert his bargaining unit position to a

managerial one (Plaintiff’s “reclassification” theory) and failure to properly

reevaluate his position (Plaintiff’s “reevaluation” theory). See ECF No. 27 at 7–9.

A threshold factual issue that has affected the Court’s disposition of this claim is

the extent to which these two alleged omissions are truly distinct. On the face of

the Second Amended Complaint, it is not entirely clear to this Court that

reclassification of one’s position to managerial status and reevaluation of one’s

position description are necessarily mutually exclusive theories. The consequences


                                          14
of this lack of clarity on Plaintiff’s part have become increasingly evident as this

case has progressed, especially during Plaintiff’s own deposition and throughout

the briefing. See, e.g., Local 1600’s Br. in Supp. of Mot. for Summ. J. at 11–12,

ECF No. 44 (employing conditional statements to defendant against various

hypothetical case theories). This confusion was further complicated by Plaintiff’s

opaque response to Defendant PPL’s Statement of Undisputed Facts #24, #47, and

#71 that Federal Rule of Civil Procedure 56(c)(2)(B) bars him from fully

responding and clarifying this and the related issue of Defendant’s alleged

discriminatory motives. ECF No. 50 at 30, 32, and 34. In fact, the Court notes that

Rule 56(c)(2)(B) does not exist, and even if it did, this Court would certainly not

exclude a Plaintiff’s prime evidentiary justification for his claims as inadmissible

“opinion.” Further, this Court cautions that refusing to supply such critical backing

for one’s claim may warrant a negative inference that such evidence is nonexistent.

      On motion for summary judgment, this Court must construe the allegations

in the light most favorable to the nonmovant. In that light, the Court will consider

Plaintiff’s alleged omissions as two distinct theories on which he might prevail.

This construction of Plaintiff’s allegations is relevant because it permits one of his

theories—the reevaluation claim—to survive the statute of limitations inquiry.

Nevertheless, this Court must also determine whether any genuine issue of material

fact exists as to Plaintiff’s failure to exhaust his grievance procedures and as to the


                                          15
merits underlying Plaintiff’s claim. Because the Court finds that there are no

genuine issues of material fact as to exhaustion or the merits, Defendants are

entitled to summary judgment on the LMRA § 301 hybrid claim, regardless of how

Plaintiff’s unintelligible theory is construed. Further, this Court will address

Plaintiff’s intentional lack of clarity during a subsequent Rule 11 Sanctions

hearing.

           1. There is a genuine dispute of material fact as to whether
              Plaintiff’s LMRA claim is time-barred only as it relates to his job
              reevaluation theory.

      “The Supreme Court held in DelCostello that the six-month statute of

limitations found in § 10(b) of the NLRA for unfair labor practice charges applies

to a hybrid action.” Bullock v. Dressel, 435 F.3d 294, 300 (3d Cir. 2006). The

United States Court of Appeals for the Third Circuit has held that the limitations

period begins to run “when the plaintiff receives notice that the union will proceed

no further with the grievance.” See Albright v. Virtue, 273 F.3d 564, 572 (3d Cir.

2001) (Becker, C.J.) (internal quotations omitted). “No explicit notice has been

required by this court; the closest we have come is the statement that the period

begins to run ‘when it becomes clear that further union appeals would be futile.’”

Albright, 273 F.3d at 572–73 (3d Cir. 2001) (quoting Vadino v. A. Valey

Engineers, 903 F.2d 253, 260 (3d Cir.1990)).

      Thus, “[t]he limitations period for a fair representation claim begins to run


                                          16
when the plaintiff knows or reasonably should have known of the acts contributing

to the union’s wrongdoing in failing to adequately represent the member’s

interests.” Podobnik, 409 F.3d at 593 (citing Miklavic v. USAir, Inc., 21 F.3d 551,

556 (3d Cir.1994)). Moreover, “[i]n a § 301 suit, a claim accrues against the

company defendant at the same time it accrues against the union defendant, since

the predicate for a § 301 action against an employer is proof that the union

breached its duty of fair representation.” Maksin v. United Steel Workers of Am.,

136 F. Supp. 2d 375, 380 (W.D. Pa. 2000) (Ambrose, J.).

      This approach requires “a case-by-case factual standard,” Scott v. Local 863,

Int’l Bhd. of Teamsters, Chauffeurs, Warehousemen, & Helpers of Am., 725 F.2d

226, 229 (3d Cir. 1984) (Adams, J.), an inquiry the Third Circuit has characterized

as “court-inspired vagueness,” because it “makes these cases difficult.” Albright,

273 F.3d at 573. This potential lack of clarity arises because “union officials may

well be equivocal or contradictory in their communications to dissatisfied members

and may send such communications through persons within the internal union

hierarchy whose authority to bind the union is at best hazy.” Albright, 273 F.3d at

573 (quoting Scott, 725 F.2d at 230 (Becker, J., concurring)).

      Though the Court finds that Defendants are entitled to summary judgment

on separate grounds in the instant matter, the issue of the expiration of the statute

of limitations was heavily briefed, and the Court will clarify its position on that


                                          17
question now for the sake of completeness. From the outset, it is apparent that

there is no genuine issue of material fact that Plaintiff’s hybrid claim would be

time-barred if it relied solely on his job reclassification theory. The applicable

standard outlined above requires determination of the point in time at which the

futility of further proceedings had or should have become reasonably apparent to

Plaintiff. In the Court’s view, that date was May 4, 2011 considering only

Plaintiff’s job reclassification theory. On that date, Plaintiff contacted Richard

John Sopko, Chief Steward for Local 1600 at the Susquehanna plant. ECF No. 50

at 39. Sopko told Plaintiff:

      The union has no interest in giving up a [bargaining unit] position. If
      the company wants to create a new management job and put you in it,
      that can be at their discretion. . . . If your intent is to turn your current
      position into a management job, I can’t help you with that. Sorry.

Id.

      “I can’t help you with that. Sorry.” was a sufficiently clear statement to put

Plaintiff on notice that his reclassification request would no longer be furthered by

the Union’s efforts. This meant that Plaintiff had until November 4, 2011, 180 days

later, to file his Complaint. He did not do so until January 17, 2013. See, e.g.,

Taylor v. Ford Motor Co., 761 F.2d 931, 934 (3d Cir. 1985) (holding that the

statute of limitations for an LMRA claim began when the union had notified the

employee that “the Union [had gone] its last mile, and there would be no further

action”).

                                           18
      Moreover, Plaintiff received the same notice from Daniel Zerbe, a Business

Representative for Local 1600 on March 20, 2012. ECF No. 50 at 33. During that

conversation, Zerbe told Plaintiff that:

      [H]e should stop his efforts and that Local 1600 would not support
      moving his job out of the bargaining unit.

Id. at 34, 41–45.

      Again, it is sufficiently clear to this Court that this additional statement—on

its own and in combination with—the May 4, 2011 email indicates a refusal on the

Union’s part to fulfill Plaintiff’s job reclassification request. The above statement

was made by Zerbe on March 20, 2012, which notwithstanding the May 4, 2011

email, would have resulted in a statute of limitations ending September 20, 2012,

some four months before Plaintiff filed his first Complaint in this case.

      However, neither of the communications from Sopko or Zerbe end the

inquiry. Instead, both union representatives went on to suggest that the union might

still be able to assist Plaintiff with his request for a formal job reevaluation. Sopko,

in a follow-up email sent two minutes after the initial correspondence, wrote:

      The union will still support a job re-eval to determine if the position is
      paid correctly. You know I believe it is too low.

ECF No. 50 at 39. Similarly, Zerbe explains that he told Plaintiff:

      I told him he should file a Request for Job Evaluation/Reevaluation.
      . . . I told him to speak to Sopko to file a grievance.

ECF No. 50 at 44.

                                           19
         The Court finds that these subsequent comments were sufficiently vague and

equivocal to raise a genuine issue of material fact at this stage. See, e.g., Albright,

273 F.3d at 575 (denying summary judgment where union communication “[a]t the

very least . . . gave the impression” of subsequent union action); Id. at 573 (“Were

this the only communication between the plaintiffs and the union . . . , the outcome

would be clear. However, we believe that additional correspondence . . . creates an

issue of material fact . . . .”).

         As Plaintiff points out, ECF No. 49 at 7, the Third Circuit has recognized the

so-called “rays of hope” doctrine, which provides that an LMRA § 301 hybrid

claim will not accrue so long as the union “proffers ‘rays of hope’ that the union

can remedy the cause of the employee’s dissatisfaction.” Bensel v. Allied Pilots

Ass’n, 387 F.3d 298, 305 (3d Cir. 2004) (second internal quotations omitted).

Here, the Court finds that the subsequent remarks by Union officials were

sufficient to “proffer rays of hope” that Plaintiff’s job reevaluation claim could still

be resolved with the Union’s help.6 Had the Union officials withheld their


6
    In the Court’s view, the true bounds of the Third Circuit’s “rays of hope” doctrine lie
    somewhere in between the two competing constructions offered by the Parties. First, the Court
    in no way endorses Plaintiff’s extreme suggestions that “there is no single ‘moment’ of breach”
    and that this case is better viewed under a “continuing violation” or “hostile work
    environment” lens. ECF No. 49 at 5; ECF No. 50 at 20. In fact, the Court agrees with PPL that
    Plaintiff’s version of the doctrine relies “upon some convoluted and conjured ‘hostile work
    environment’ allegations,” ECF No. 51 at 11 n.3, and with the Union that the communications
    at hand are “discrete” rather than “continuous” events. ECF No. 53 at 2. At the same time, the
    Defendants’ parallel contention that arbitration is a pre-requisite to finding “rays of hope” in
    the statute of limitations context, ECF No. 51 at 6–7; ECF No. 53 at 4–5, is too restrictive and
                                                 20
subsequent comments, the outcome at this stage would likely be the opposite one.

Ultimately, the Court finds that although there is no genuine dispute of material

fact that an LMRA claim based solely on a job reclassification theory would be

time-barred, there is a correspondingly genuine dispute that Plaintiff’s job

reevaluation theory should survive the statute of limitations analysis.

         Be that as it may, the Court notes that there must be some temporal limit

after which a union’s purported “rays of hope” have been extinguished.7 Any other

treatment would indefinitely expose unions to liability under § 301 simply as a

result of an employee’s failure to clearly articulate his grievances or to adequately

process those grievances through prescribed procedural channels. Courts have

uniformly solved this problem by imposing a mandatory exhaustion requirement

for all § 301 claims, and that is the point to which this Court turns next.

             2. Nevertheless, there is no genuine dispute of material fact that
                Plaintiff has failed to exhaust the prescribed grievance procedures
                and that his case does not fall within any exhaustion exception.

         “The Supreme Court instructs that, where a collective bargaining agreement

establishes a grievance procedure, an employee must at least attempt to exhaust

    equally unsupported. See Bensel, 387 F.3d at 306 (“This Court has applied the rays of hope
    analysis in the absence of any arbitration proceeding. Our discussion of the doctrine makes
    obvious that its supporting principles are not inherently dependent on the presence of an
    arbitration proceeding. An arbitration proceeding is merely illustrative of one way in which a
    union can proffer rays of hope that it will obtain the relief the complaining employee desires in
    spite of a breach of its duty of fair representation.”).
7
    As Plaintiff’s own narrative suggests, there comes a time when a reasonable employee ought to
    realize that what he once considered “rays of hope” are “nothing more than false rays of hope.”
    ECF No. 50 at 22.
                                                  21
such a process.” Podobnik, 409 F.3d at 594 (citing Vaca v. Sipes, 386 U.S. 171,

(1967)). “An employer cannot be held liable for breach of a collective bargaining

agreement unless it can be shown that the employee unsuccessfully sought relief

through the union grievance procedure.” Podobnik, 409 F.3d at 594. If “it is

undisputed that [an employee] did not attempt to first resolve the dispute via the

grievance process, he cannot sue [his employer] for any alleged breach of the

collective bargaining agreement, and consequently cannot sue [his union] for any

alleged breach of the duty of fair representation.” Id. at 595.

      Courts have recognized this exhaustion requirement because “national labor

policy . . . encourages private rather than judicial resolution of disputes arising

over collective-bargaining agreements.” Clayton v. Int’l Union, United Auto.,

Aerospace, & Agr. Implement Workers of Am., 451 U.S. 679, 689 (1981). “A

contrary rule which would permit an individual employee to completely sidestep

available grievance procedures in favor of a lawsuit has little to commend it. . . .

[I]t would deprive employer and union of the ability to establish a uniform and

exclusive method for orderly settlement of employee grievances. . . . [a]nd would

inevitably exert a disruptive influence upon both the negotiation and administration

of collective agreements.” Republic Steel Corp. v. Maddox, 379 U.S. 650, 653

(1965) (internal quotations omitted). As the Supreme Court of the United States

has explained:


                                           22
      Where internal union appeals procedures can result in either complete
      relief to an aggrieved employee or reactivation of his grievance,
      exhaustion would advance the national labor policy of encouraging
      private resolution of contractual labor disputes. In such cases, the
      internal union procedures are capable of fully resolving meritorious
      claims short of the judicial forum. Thus, if the employee received the
      full relief he requested through internal procedures, his § 301 action
      would become moot, and he would not be entitled to a judicial
      hearing. Similarly, if the employee obtained reactivation of his
      grievance through internal union procedures, the policies underlying
      Republic Steel would come into play, and the employee would be
      required to submit his claim to the collectively bargained dispute-
      resolution procedures. In either case, exhaustion of internal remedies
      could result in final resolution of the employee’s contractual
      grievance through private rather than judicial avenues.

Id. at 692.

      The Supreme Court has recognized three exceptional situations in which an

employee need not fulfill an LMRA claim’s mandatory exhaustion requirement.

Specifically, “courts have discretion to decide whether to require exhaustion of

internal union procedures” in three circumstances: “first, [if] union officials are so

hostile to the employee that he could not hope to obtain a fair hearing on his claim;

second, [if] the internal union appeals procedures would be inadequate either to

reactivate the employee’s grievance or to award him the full relief he seeks under §

301; and third, [if] exhaustion of internal procedures would unreasonably delay the

employee’s opportunity to obtain a judicial hearing on the merits of his claim.”

Clayton, 451 U.S. at 689. “If any of these factors are found to exist, the court may

properly excuse the employee’s failure to exhaust.” Id.


                                          23
         In the instant dispute, the Union has pointed the Court’s attention to

Prodobnik v. U.S. Postal Service, 409 F.3d 584 (3d Cir. 2005) (Van Antwerpen,

J.), a leading Third Circuit decision on the consequences of an employee’s failure

to exhaust prescribed grievance procedures.8 Podobnik involved a mail carrier

from the United States Post Office’s Monroeville, Allegheny County, Pennsylvania

division. Id. at 586. After his supervisor charged Podobnik with several safety

violations, a meeting with Post Office officials was held and Podobnik was given a

letter of proposed removal stating that he had fourteen days to file a grievance

under the applicable collective bargaining agreement. Id. at 587–88. “[Podobnik]

never filed a grievance, nor did he request that [his union] do so.” Id. at 588.

         Analyzing Podobnik’s lack of involvement in the grievance process, the

Third Circuit observed that he “did not file a grievance” and “[a]t most, . . .

initiated the ‘Step 1 Grievance Procedure’ by contacting his union steward and

requesting that she accompany him to discuss his grievance with his immediate

supervisor”—a course of action largely similar to if not slightly more developed

than the one at issue in this case. Id. at 594. Moreover, the requirements in

Podobnik’s case, which permitted employees to initiate an official grievance

merely by meeting with their supervisors and declaring that they have a grievance,

8
    The analytical framework and research provided by the Union in its Brief in Support of its
    Motion for Summary Judgment, ECF No. 44, was particularly thorough on the issues of
    exhaustion and the underlying merits of a LMRA § 301 hybrid claim, an approach this Court
    believes helped to clarify the underlying issues.
                                                24
were arguably less formal than the ones at issue here. Id. at 594. Nevertheless, the

court found that Podobnik “chose not to pursue the grievance process” beyond a

preliminary meeting and thus could not bring a LMRA § 301 hybrid claim unless

any of the established exceptions applied. Id. at 594.

         Turning to whether Podobnik’s claim was saved by any of the exhaustion

exceptions, the Third Circuit observed that “other than accusations substantiated

with nothing more than conclusory allegations of fraud and collusion,” Podobnik

“presents no evidence to establish that any one of these exceptions is applicable.”

Id. at 594 (citing Celotex Corp., 477 U.S. at 325 (“To survive summary judgment,

a party must present more than just ‘bare assertions, conclusory allegations or

suspicions’ to show the existence of a genuine issue.”)). According to the court,

Podobnik “[did] not explain why his failure to press his grievance further . . . was

caused by malfeasance on the part of [his employer]” or “that use of the grievance

procedure would have been futile or that [the union] acted against his interests.”

Podobnik, 409 F.3d at 594. Therefore, the court held that Podobnik could not be

excused from failing to exhaust the mandatory grievance procedures. Id. That

procedural shortcoming was sufficient to dispose of Podobnik’s LMRA § 301

hybrid claim in its entirety on summary judgment. Id. at 594.9


9
    For a similar Third Circuit decision coming to the same conclusion, see Anjelino v. New York
    Times Co., 200 F.3d 73, 99 (3d Cir. 1999) (Roth, J.):


                                                25
      Applying the established exhaustion requirement to the facts at hand

indicates that there is no genuine dispute of material fact where Plaintiff has failed

to exhaust the prescribed grievance procedures and that his failure does not fall

within any of the recognized exceptions. The Parties do not dispute that Plaintiff, a

member of the Union, was party to the CBA with PPL, ECF No. 40, Ex. 3 at 5;

ECF No. 50 at 3, or that the CBA provided for the appropriate procedural channels

through which employees seeking job reevaluations might request relief. ECF No.

40, Ex. 3 at 5; ECF No. 50 at 3–4. Specifically, Article VI, Section 1 of the CBA

provides that:

      The Company will prepare new or eliminate old job titles and
      descriptions or otherwise revise or modify them when necessary to
      meet changed conditions. Requests for new jobs and requests for re-
      evaluation for existing jobs will be handled in accordance with
      Exhibit N.

ECF No. 40, Ex. 4 at 66 (underlining in original). Under the heading “Existing

Jobs,” Exhibit N provides in pertinent part that:


      We will affirm the dismissal of these claims because the appellants have not
      demonstrated that they exhausted the Union’s internal grievance procedures prior
      to filing charges against the Union and the Times. In particular, the District
      Court’s dismissal of the LMRA . . . claim[ ] was based on its finding that the
      appellants’ complaints to the Union regarding their alleged mistreatment by
      Times’ personnel were being presented to the Baar Committee at the same time
      that they were before the District Court. See Anjelino, 1993 WL 170209 at *13–
      14. Under these circumstances, we find that dismissal of the LMRA claims was
      appropriate. See Angst v. Mack Trucks, Inc., 969 F.2d 1530, 1538 (3d Cir.1992)
      (holding that union members were required to exhaust grievance and arbitration
      procedures contained in CBA prior to filing suit under LMRA); see also Clayton
      v. Int’l. Auto. Workers, 451 U.S. 679, 692, 101 S.Ct. 2088, 68 L.Ed.2d 538
      (1981).
                                            26
      1. A request to re-evaluate an existing job description may be
         initiated by an incumbent employee or appropriate supervisor.

      ...

      5. If the request is not approved by the Company, Bargaining Unit
         employees may appeal the decision to the IBEW Local 1600
         office.

      6. Disagreements between the Company and Local 1600 regarding
         whether to submit an existing position for re-evaluation shall be
         resolved through the grievance procedure.

ECF No. 40, Ex. 4 at 67–68. Such extensive involvement on the part of the

requesting employee is required under the CBA’s protocol because evaluation of

the position requires numerous pieces of information, including “written

questionnaires, interviews with incumbents, interviews with supervisors,

interviews with other individuals having knowledge of the job being evaluated,

and/or on-the-job observations.” ECF No. 40, Ex. 4 at 68.

      Neither do the Parties dispute that Plaintiff failed to exhaust these mandated

grievance procedures. In its Middle District of Pennsylvania Local Rule 56.1

Statement of Undisputed Facts filing, PPL averred: “74. Plaintiff testified

unequivocally that he has never filed or requested that a grievance be filed on his

behalf with regard to his job reevaluation or issues with his position.” ECF No 40,

Ex. 3 at 12 (internal citations omitted). Plaintiff responded to PPL’s Undisputed

Fact #74 by admitting it in full. ECF No. 50 at 7 (“74. Admitted.”). See also PPL’s

Undisputed Fact #33, ECF No. 40, Ex. 3 at 5 (“Plaintiff testified unequivocally that

                                         27
he has never filed a grievance while employed at PPL or requested that one be filed

on his behalf.”) (internal citations omitted); Pl.’s Resp. to PPL’s Undisputed Fact

#33, ECF No. 50 at 4 (“33. Admitted.”).

      In an attempt to explain away his procedural deficiencies, the Plaintiff

argues that he “did not file a grievance because he still held out hope of a change in

position.” ECF No. 49 at 14. It appears questionable to this Court for Plaintiff to

take the position that he reasonably believed that his job reevaluation request was

capable of being addressed by internal union procedure but simultaneously never

felt a need to initiate a grievance—even after more than a year had passed since the

Union’s initial rejection of his request. In fact, it is precisely because Plaintiff

never initiated a grievance that the record in this case is devoid of any indication of

how openly the Union would have received his complaint or how effectively it

would have processed it.

      As such, to escape his failure to exhaust all required procedural hurdles, the

Plaintiff must attempt to fit his case within one of the established exceptions. This

would require Plaintiff to take the position that the grievance procedure would

have been unfair or hostile, inadequate, or unduly slow. Throughout its responsive

papers, Plaintiff fails to explicitly argue that his claim fits within any of the

established exceptions to the mandatory grievance procedure. See ECF No. 49 at

14–15. Rather, the crux of his argument against the necessity of fulfilling the


                                            28
exhaustion requirement seems to be that “Plaintiff did not file a grievance because

he still held out hope of a change in position.” Id. at 14.

      Further, there is no genuine dispute of material fact that the Union’s

response in this case would have been hostile or unfair, inadequate, or

unreasonably slow as the exhaustion exceptions require. Quite the opposite, the

record clearly demonstrates that the Union representatives with which Plaintiff

interfaced provided him with helpful information, potential avenues to pursue his

requests, and explicit advice as to which matters they were capable of assisting him

with and which they were not. See, e.g., ECF No. 50 at 39 (Sopko email chain);

ECF No 50 at 41–45 (Aff. of Zerbe). As the Third Circuit clarified in Podobnik,

where an employee “does not explain why his failure to press his grievance further

. . . was caused by malfeasance on the part of [his employer]” and similarly fails to

“supply evidence demonstrating that use of the grievance procedure would have

been futile or that [his union] acted against his interests,” courts “cannot excuse his

failure to exhaust the grievance process before bringing his hybrid section 301

claim.” Id. at 594.

      Any allegations or facts supporting the contention that resort to the Union’s

grievance proceedings would have been unavailing are entirely absent from the




                                           29
record.10 That’s precisely because Plaintiff never initiated a grievance, despite the

clear protocol set forth in the CBA and the clear instruction provided by Union

officials. Those officials instructed Plaintiff as to the appropriate course of action

and the requisite process he needed to take to prosecute his grievances fully. He

did not take that advice. There was nothing unfair or dishonest about the officials’

responses. No facts in the record suggest that the Union was acting with ulterior

motives or that it surreptitiously attempted to lull Plaintiff into “sleeping on his

rights”—he instead chose to doze off completely of his own accord. Therefore,

there is no genuine dispute of material fact as to Plaintiff’s failure to adequately

satisfy the exhaustion requirement to bring a LMRA § 301 hybrid action. As such,

summary judgment should be granted for both Defendants as to that claim.

             3. Moreover, there is no genuine dispute of material fact that
                Plaintiff’s LMRA claim fails on the merits, because Plaintiff
                presents no evidence that the Union breached its duty of fair
                representation or that PPL breached the CBA.

         “Because a union is authorized to act as the exclusive bargaining agent for

its members, it has a duty to provide fair representation in the negotiation,

administration, and enforcement of the collective bargaining agreement.” Findley

10
     There are simply no material facts in the record creating a genuine dispute that the Union’s
     response to a hypothetical grievance ever would have been unduly slow or inadequate. To the
     extent that Plaintiff may be understood to argue that his case was based primarily on his job
     reclassification request and that the Union’s response was inadequate because they were
     unwilling to lose a bargaining unit position, then as discussed in Part III.A.1, supra, it is clear
     that no reasonable “rays of hope” existed at the time the Union sent its first communication in
     May 2011, and the statute of limitations on this action would have tolled long before Plaintiff
     ever filed his Complaint.
                                                    30
v. Jones Motor Freight, Div. Allegheny Corp., 639 F.2d 953, 957 (3d Cir. 1981)

(Weis, J.) “A breach of that duty occurs when a union’s conduct toward a member

is ‘arbitrary, discriminatory, or in bad faith.’” Id. (quoting Vaca, 386 U.S. at 190).

Consequently, when courts review employment bargaining disputes, “[t]he union

must be accorded a ‘wide range of reasonableness’ to enable it to perform

effectively, but this discretion is subject to ‘good faith and honesty of purpose.’”

Findley, 639 F.2d at 957 (quoting Hines v. Anchor Motor Freight, Inc., 424 U.S.

554, 563–64 (1976)).

      For instance, “[t]he mere refusal of a union to take a complaint to arbitration

does not establish a breach of duty, even if the member’s claim was meritorious.”

Findley, 639 F.2d at 958. Instead, “[p]roof of arbitrary or bad faith union conduct

in deciding not to proceed with the grievance is necessary to establish lack of

compliance with the fair representation.” Id. Thus, in cases where the fervency of a

union’s representation is at issue, the Third Circuit has observed that the ultimate

question is whether union’s representation “was within the range of acceptable

performance.” Id. (internal quotations omitted).

      To flesh out the application of this standard in the present matter, it is useful

to contrast the facts at hand with those presented in Seafarers Int’l Union of N.

Am. v. Thomas, 42 F. Supp. 2d 547, 554 (D.V.I. 1999) (per curium). The court in

Seafarers upheld a jury verdict in favor of an employee who claimed that a union


                                          31
unfairly represented him in relation to a similar reclassification claim. Id. at 555.

Although the court in that case was searching merely for a “rational relation”

between the verdict and the evidence presented at trial—a distinct and more lenient

standard than that applied at the summary judgment stage, the contrast between

this case and Seafarers is highly instructive. Specifically, the employee in that case

“testified that, beginning in 1975, she repeatedly complained to union

representatives about her improper classification as a Clerk Stenographer and was

repeatedly told that the union was either ‘looking into it’ or filing a grievance on

her behalf.” Id. However, “[u]nion officials then testified that when [the

employee’s] file was examined in 1987 or 1988, there were no grievances.” Id.

Quite differently, the facts in this case’s record do not even come close to reaching

the high bar required for the formation of a discriminatory inference. Not only did

the Union never misrepresent its unwillingness to take any formal action on

Plaintiff’s behalf, but Plaintiff himself is the one who failed to initiate the process

in the first place.

       Plaintiff presents no facts indicating that Union violated its duty of fair

representation or treated him in an arbitrary manner. There is no evidence of bad

faith on the Union’s part like that presented in Seafarers. The Union did not

attempt to conceal its true by motives by feigning false assistance to the Plaintiff

when he came calling for help. Rather, in this Court’s view, the Union’s response


                                           32
was quite straightforward, explaining the extent of its potential intervention and

aid, and reminding Plaintiff of the requisite procedure. In fact, any evidence even

seeming to indicate a potential for arbitrariness on the Union’s part is absent

entirely because Plaintiff himself never initiated a grievance. It simply cannot be

true, as Plaintiff would have it, that he simultaneously believed both that the Union

would adequately address his requests and yet act arbitrarily or discriminatory in

its dealings with him.

      The Court agrees with the Union that Plaintiff, purporting to address the

merits of his LMRA § 301 hybrid claim in its Opposition Briefs, ECF No. 49 at 7–

11; ECF No. 50 at 15–18, “merely continues his argument . . . that his claim is not

time-barred” under a “misleading subheading.” ECF No. 53 at 4 n.4. The Court

sees no reason why Plaintiff would fail to brief the underlying merits of his own

claim, particularly in light of the stipulations, ECF Nos. 45 and 47, entered into by

the Parties that extended the time Plaintiff had to respond to Defendants’ Summary

Judgment Motions. Regardless, the Court must address these issues—with or

without Plaintiff’s input.

      Moreover, recall that “the employee must demonstrate that he did not

receive fair representation from the union as well as proving his claim against the

employer.” Findley, 639 F.2d at 957. “These two elements must be established

before the employee is entitled to relief under § 301(a) of the Labor Management


                                          33
Relations Act.” Id. at 958. Thus, it is also necessary for the Court to inquire into

whether PPL breached any provision of the CBA.

         To illustrate, in a case before the United States District Court for the Eastern

District of Pennsylvania with a posture similar to this one, Judge Raymond J.

Broderick entered summary judgment in favor of an employer and union in an

LMRA § 301 hybrid action. Matos v. Kurz-Hastings, Inc., 701 F. Supp. 1135, 1136

(E.D. Pa. 1988), aff’d, 879 F.2d 858 (3d Cir. 1989). Matos involved an employee

who was denied both accommodations involving adjustments to his daily shifts

worked and reclassification of his position. Id. at 1140. The court observed that

because “plaintiff failed to identify any clause or provision of the collective

bargaining agreement that obligated [his employer] to provide him with a straight

shift position, to reclassify his position, to make limited duty work available, to

extend his medical leave, or to continue to provide any past accommodations not

required by the agreement,” there was no breach of the relevant collective

bargaining agreement. Id.11


11
     Similarly, in Balser v. Int’l Union of Elec., Elec., Salaried, Mach. & Furniture Workers (IUE)
     Local 201, 661 F.3d 109, 121 (1st Cir. 2011), the First Circuit upheld a District Court’s grant
     of summary judgment in favor of a union on a related classification issue. It wrote:

         Balser’s unsupported allegations that GE and Local 201 conspired to reclassify
         her position by subsequently creating the fiction of her serving as a temporary
         illness replacement for Doherty are insufficient to counter the record’s showing of
         GE’s objective reassessment of company staffing needs following a change in
         employee information. Indeed, Balser points to no testimony, email or letter
         correspondence, internal memoranda, or other documentation or communication
                                                  34
      The facts of Matos are exceedingly similar to those at issue in the present

case, and as in Matos, Plaintiff has not offered sufficient evidence to create a

genuine dispute of material fact as to whether PPL breached the CBA. In fact,

based on the evidence in the record, the Court cannot fathom how any action by

PPL might have even come close to a breach of the CBA. Plaintiff offers no facts

indicating that PPL was in any way obligated to entertain his reclassification

request other than the proper procedures governing such reconsiderations that were

set forth in CBA itself—procedures, like the rest of those involved in this case, that

Plaintiff chose never to commence. Because there are no genuine disputes of

material fact that the Union did not breach its duty of fair representation or that

PPL did not violate the CBA, summary judgment should be granted in favor of the

Defendants on Plaintiff’s § 301 claim on the basis of this second and distinct

ground as well.

      B. PPL’s Motion for Summary Judgment is granted as to Plaintiff’s
         ADEA and PHRA claims.

          1. There is no genuine dispute of material fact that Plaintiff’s ADEA
             claim is time barred, because he failed to file suit within ninety
             (90) days of the issuance of his EEOC right-to-sue letter.

      If an employee asserting an employment discrimination claim under Title


      supporting her contention that the Union and GE improperly schemed to
      reclassify; rather, the evidence shows that on learning of Doherty’s subsequent
      and unpredicted absence—despite learning of his non-retirement plans—GE
      reevaluated its staffing needs in the Zyglo Sorter field.


                                            35
VII chooses to initiate a formal charge with the EEOC, and the EEOC chooses not

to file a civil action against the relevant employer, that employee’s claim must be

filed in federal court “within ninety days after the giving of such notice” by the

EEOC. 42 U.S.C. § 2000e–5(f)(1). “Unlike Title VII however, [the]ADEA does

not require that a ‘right-to-sue’ letter be first obtained.” Seredinski v. Clifton

Precision Products Co., Div., of Litton Sys., 776 F.2d 56, 63 (3d Cir. 1985).

“ADEA plaintiffs need only wait 60 days after filing the EEOC charge.”

Holowecki v. Fed. Exp. Corp., 440 F.3d 558, 563 (2d Cir. 2006), aff’d, 552 U.S.

389 (2008). “However, in the event that the EEOC issues a right-to-sue letter to an

ADEA claimant, the claimant must file her federal suit within 90 days after receipt

of the letter.” Id. (citing 29 U.S.C. § 626(e)). “[F]iling a timely charge of

discrimination with the EEOC is not a jurisdictional prerequisite to suit in federal

court, but a requirement that, like a statute of limitations, is subject to waiver,

estoppel, and equitable tolling.” Zipes v. Trans World Airlines, Inc., 455 U.S. 385,

393 (1982).

      “[A] notice letter correctly delivered to a complainant’s residence or postal

box constitutes notice even though the complainant may not have seen the notice

him or herself at the time of delivery.” Ebbert v. DaimlerChrysler Corp., 319 F.3d

103, 115 n.15 (3d Cir. 2003). “[I]n the absence of other evidence, courts will

presume that a plaintiff received her right-to-sue letter three days after the EEOC


                                           36
mailed it.” Seitzinger v. Reading Hosp. & Med. Ctr., 165 F.3d 236, 239 (3d Cir.

1999) (Becker, C.J.). This is particularly true where “the right-to-sue letter was

addressed to [the complainant] at the address at which [he] has received

information from the EEOC since this action began.” Id. at 239. See also Scholar

v. Pacific Bell, 963 F.2d 264, 267 (9th Cir.1992) (“[W]e agree with the reasoning

of the Fourth, Fifth, and Eleventh Circuits [that] . . . [t]he language of the statute

establishes the 90–day period as running from the ‘giving of such notice’ rather

than from the date claimant actually ‘receives’ notice in hand.”).

      In the instant case, the Court agrees with PPL that Plaintiff’s alleged failure

to receive his right-to-sue letter—despite receiving all prior EEOC

communications at his record address—strains credulity. See ECF No. 40, Ex. 3 at

1–2; ECF No. 51 at 4. On August 30, 2012, the EEOC mailed Plaintiff a

“Dismissal and Notice of Rights,” stating that any subsequent lawsuit Plaintiff

sought to initiate “must be filed WITHIN 90 DAYS of [his] receipt of this notice.”

ECF No. 40, Ex. 4 at 49 (capitalization and underlining in original). That right-to-

sue letter was addressed to “Ernest Keister” at “11 Laurel Park Lane, Millmont, PA

17845.” Id. According to Plaintiff, he had previously received “multiple

correspondences from the EEOC, which were all addressed to him” at the same

record address used in the right-to-sue letter. ECF No. 40, Ex. 3 at 1–2; ECF No.

50 at 1. Plaintiff has resided at the above Millmont, Union County, Pennsylvania


                                           37
location uninterrupted for at least the past twenty years and never notified the

EEOC of any change of address. ECF No. 40, Ex. 3 at 1–2; ECF No. 50 at 1–2.

         Consistent with the above-referenced authorities, this Court finds that

Plaintiff possessed sufficient notice such that the ninety-day period within which

he might file a complaint began to run no later than three days after August 30,

2012, which pursuant to Fed. R. Civ. P. 6(a)(1), was Tuesday, September 4,

2012.12 Consequently that ninety-day period would have concluded on Monday,

December 3, 2012. Plaintiff did not file his Complaint until January 17, 2013,

forty-five (45) days late.

         Given the tardiness of Plaintiff’s Complaint, it may only be saved by fitting

it within an exception that merits equitable tolling. However, no such equitable

tolling is appropriate in this case. In Baldwin County Welcome Center v. Brown,

466 U.S. 147, 151 (1984), the Supreme Court of the United States discussed

certain circumstances that might warrant equitable tolling of the ninety-day period.

The Third Circuit, in Ford v. Temple Hosp., 790 F.2d 342, 350 (3d Cir. 1986)

(Higginbotham, Jr., J.), distilled that discussion into a list that read:

         (1) [W]here notice from the EEOC does not adequately inform
         plaintiff of the requirement that suit be commenced within the
         statutory period; (2) where a motion for appointment of counsel is
12
     Under the Third Circuit’s three-day implied notice rule, the technical notice date would have
     been Sunday, September 2, 2012. However, because mail would not have been delivered that
     day (or on Labor Day Monday, which fell immediately thereafter on September 3, 2012), the
     Court implies notice as of Tuesday, September 4, 2012. See Edwards v. Bay State Mill. Co.,
     519 F. App’x 746, 748 n.2 (3d Cir. 2013).
                                                 38
      pending; (3) where the court itself has led plaintiff to believe that she
      has satisfied all statutory prerequisites to suit; and (4) where the
      defendant has, through affirmative misconduct, lulled the plaintiff into
      inaction.

Before reaching those exceptions, the Brown Court cautioned that “[p]rocedural

requirements established by Congress for gaining access to the federal courts are

not to be disregarded by courts out of a vague sympathy for particular litigants”

because “strict adherence to the procedural requirements specified by the

legislature is the best guarantee of evenhanded administration of the law.” Brown,

466 U.S. at 152. Further, “[p]laintiff bears the burden to show that equitable tolling

is warranted.” Carter v. Keystone, 360 F. App’x 271, 273 (3d Cir. 2010) (per

curium).

      As relevant to this case, the Third Circuit in Ford held that a claimant

seeking to toll the ninety-day period as a result of “belated receipt of the right to

sue letter” could not prevail because that excuse “does not come close enough to

the kind of showing required to invoke the doctrine of equitable tolling.” Id.

According to the Third Circuit, neither was equitable tolling appropriate where a

plaintiff “allow[ed] so much time to pass between the [right-to-sue] deadline and

the date she filed her complaint,” regardless of “misstatements that may have been

made by her attorney or his staff.” Rockmore v. Harrisburg Prop. Serv., 501 F.

App’x 161, 164 (3d Cir. 2012) (per curium). The Court finds it inappropriate to

apply the doctrine of equitable tolling in this case as well. Mere delay and inaction

                                           39
on the part of a litigant or his attorney do not constitute the types of exceptional

circumstances contemplated by equitable principles, and Plaintiff has failed to

advance any potential justifications for his late filing. See Carter, 360 F. App’x at

273 (“[Plaintiff] offers no viable argument at all for an equitable tolling of the

limitations period, and his complaint, as plainly indicated on its face, was filed

well after expiration of the ninety-day period to bring suit.”). Therefore, there is no

genuine dispute of material fact that Plaintiff’s ADEA claim was time-barred.13

                  2. There is no genuine dispute of material fact that Plaintiff has
                     failed to present an adequate prima facie case of age
                     discrimination under the ADEA or the PHRA.

          “The same legal standard applies to both the ADEA and the PHRA and

therefore it is proper to address them collectively.” Kautz v. Met-Pro Corp., 412

F.3d 463, 466 n.1 (3d Cir. 2005) (Aldisert, J.). “To prevail on an intentional age

discrimination claim under either the ADEA or the analogous provision of the

13
     Given the finding that Plaintiff himself had sufficient notice of the issuance of the right-to-sue
     letter, the Court, for several reasons, finds it largely irrelevant to discuss Plaintiff’s allegations
     that his Counsel did not receive the notice-to-sue letter at the appropriate address. First, as a
     matter of law, courts have implied a client’s notice to his attorney and vice versa. Irwin v.
     Dep’t of Veterans Affairs, 498 U.S. 89, 91 (1990) (“[Title VII] it does not specify receipt by
     the claimant rather than by the claimant’s designated representative.”). Moreover, the Court
     finds the evidence on this particular issue inconclusive and not fully borne out by the record.
     See, e.g., ECF No. 50 at 37. Last, the Court notes that Plaintiff filed his EEOC Charge on June
     28, 2011, ECF No. 40, Ex. 4 at 44, meaning that the mandatory 60-day waiting period for
     ADEA claimants who do choose to file an official charge had expired on August 27, 2011,
     after which time counsel was free to request the letter. See Burgh v. Borough Council of
     Borough of Montrose, 251 F.3d 465, 470 (3d Cir. 2001) (citing 29 C.F.R. § 1601.28(a)(1)).
     The record is absent of any follow-up action on Plaintiff’s part following the expiration of that
     deadline until over a year later in a letter sent by his Counsel on December 21, 2012. ECF No.
     50 at 37.


                                                     40
PHRA, a plaintiff must show that his or her age actually motivated or had a

determinative influence on the employer’s adverse employment decision.” Fasold

v. Justice, 409 F.3d 178, 183-84 (3d Cir. 2005) (internal citations and quotations

omitted). In Smith v. City of Allentown, 589 F.3d 684 (3d Cir. 2009) (Jordan, J.)

the Third Circuit affirmed the “continued application of the McDonnell Douglas

paradigm in age discrimination cases.” Id. at 691. “Under McDonnell Douglas, the

plaintiff bears the burden of proof and the initial burden of production.” Id.

      To establish a prima facie case of age discrimination, a plaintiff must prove:

“that the plaintiff is forty years of age or older; second, that the defendant took an

adverse employment action against the plaintiff; third, that the plaintiff was

qualified for the position in question; and fourth, that the plaintiff was ultimately

replaced by another employee who was sufficiently younger to support an

inference of discriminatory animus.” Smith, 589 F.3d at 689. In the context of non-

promotion or non-reclassification claims, the Third Circuit has cast the prima facie

elements as requiring a plaintiff to show that: “(1) he belongs to the protected

class; (2) either that he applied and was qualified for the supervisory position and

was not appointed, or that he was performing satisfactorily in his present position

and was actually or constructively dismissed, and (3) that a person sufficiently

younger to raise an inference of age discrimination was employed in his stead.”

Spangle v. Valley Forge Sewer Auth., 839 F.2d 171, 173 (3d Cir. 1988)


                                          41
(Mansmann, J.).

      As the Court reads Plaintiff’s Brief in Opposition to PPL’s Motion for

Summary Judgment, ECF No. 50 at 14–17, it seems to be the case that Plaintiff’s

core age discrimination theory is that his job classification and attendant salary did

not reflect the type of tasks for which he was responsible at work. See ECF No. 50

at 14 (“At the time of the filing of his Complaint, Plaintiff was 67 years old the

only person [sic] who performing [sic] the duties and functions for which he was

responsible. . . . He was qualified for his position and continued to suffer adverse

employment actions, including losing out on compensation he was rightly owed for

the duties he was actually performing.”). Plaintiff alleges that despite his

exemplary work ethic, “he was refused the chance to gain a management position

that would reflect the duties and responsibilities he was already performing and

reward him appropriately for the work he provided.” Id. at 15.

      The circumstances Plaintiff has described do not constitute age

discrimination—in fact, they seem to have nothing to do with comparative ages

among workers at PPL whatsoever. Instead, what Plaintiff has attempted to cast as

age discrimination is nothing more than a permissible business judgment on PPL’s

part. Further, Plaintiff has provided no facts indicating that this business judgment

was in any fashion linked to Plaintiff’s age. In reality, Plaintiff’s “age

discrimination” claim would have been more appropriately addressed through the


                                           42
CBA’s prescribed procedures and later through the Union’s grievance system. The

Court wonders if perhaps Plaintiff felt compelled to plead an age discrimination

claim based upon his failure to adequately pursue relief through those more

appropriate channels.

         In any event, it is clear to this Court that Plaintiff’s purported age

discrimination theory is unfounded. The standard age discrimination claim requires

a Plaintiff to prove that he was treated less equitably than those workers who were

in a younger age bracket. Plaintiff here shows only that he was treated exactly the

same as (or perhaps, even better than) that class. The crux of his argument is that

he was not promoted to a higher rank on the corporate ladder despite his extensive

responsibilities. It seems reasonable that a person in Plaintiff’s position might have

a dispute with other workers who have been promoted instead of him, but unless

those workers were significantly younger than him, and he was passed over

because of his age, it escapes this Court’s grasp as to how Plaintiff’s theory could

possibly form the basis of an age discrimination claim.14 As the Supreme Court has

admonished when speaking about the insufficiency of purported age discrimination

claims like that Plaintiff has alleged, “[t]he enemy of 40 is 30, not 50.” Gen.

14
     Plaintiff contends that his claim is appropriately classified as “age discrimination” because
     PPL’s hypothetical reclassification of his position “would increase his pay and ultimately
     increase his funds at the time of retirement.” ECF No. 50 at 17. However, as PPL points out,
     Plaintiff repeatedly testified that he received similar treatment even before he reached the
     ADEA’s effective age of forty (40) years-old. ECF No. 42 at 23. Moreover, accepting
     Plaintiff’s novel theory would unnecessarily expose employers everywhere to ADEA liability
     every time they made a non-promotion decision.
                                                 43
Dynamics Land Sys., Inc. v. Cline, 540 U.S. 581, 591 (2004) (Souter, J.).

         Interestingly, Plaintiff argues that he “has younger electricians and foreman

under his direct supervision that he has taken to training and given specific

knowledge of the system.” Id. at 15. That fact seems to suggest that, in practice, he

is treated better than his younger co-workers, a sort of de facto senior lead—a role

that emerges organically in many contexts.15 Even more confounding, Plaintiff

suggests that “[h]e cannot provide any comparative data about younger employees

in the context of a traditional ADEA charge because he is and was the only person

at his branch doing this job.” Id. at 16 (emphasis in original). That absence of

similarly-situated comparators is equally fatal to Plaintiff’s age discrimination

claim, as Plaintiff has essentially failed to adduce any evidence suggesting his non-

promotion or non-reclassification was in any way causally connected with his

age.16 In sum, Plaintiff alleges no evidence giving rise to an inference of age

discrimination. Thus, there is no genuine dispute of material fact that Plaintiff’s


15
     Plaintiff spends an inordinate amount of space in his brief arguing that there is no
     “replacement requirement” to allege a successful ADEA claim. ECF No. 50 at 15–17. Even
     accepting that argument as true, Plaintiff himself acknowledges that a meritorious ADEA
     claim requires “evidence ‘adequate to create an inference’ of discrimination.” Id. at 16.
     Further, the adverse action at issue here is non-promotion, not termination. The Court thus
     finds it apparent that termination and subsequent replacement by a younger worker are not at
     issue here.
16
     In Plaintiff’s Deposition, ECF No. 40, Ex. 4, he briefly references a co-worker named “Bob
     Schecterly” who purportedly was transferred from the bargaining unit to a management
     position. Id. at 17. However, Plaintiff was unable to indicate how exactly Mr. Schecterly
     obtained his managerial position, at what time Mr. Schecterly was transferred, or what his age
     was at the time. Id. Plaintiff provides no further substance relating to Mr. Schecterly, and
     according to Plaintiff, “he was about [Plaintiff’s] age” or “older”). Id. at 17.
                                                 44
ADEA and PHRA age discrimination claims must fail.

      C. PPL’s Motion for Rule 11 Sanctions.

      “It is now clear that the central purpose of Rule 11 is to deter baseless filings

in district court and thus, consistent with the Rules Enabling Act’s grant of

authority, streamline the administration and procedure of the federal courts.”

Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990). “Rule 11 imposes a

duty on attorneys to certify that they have conducted a reasonable inquiry and have

determined that any papers filed with the court are well grounded in fact, legally

tenable, and not interposed for any improper purpose.” Id. (internal quotations

omitted). “[T]he intended goal of Rule 11 is accountability.” Mary Ann Pensiero,

Inc. v. Lingle, 847 F.2d 90, 94 (3d Cir. 1988) (Weis, J.). “The standard for testing

conduct under Rule 11 is reasonableness under the circumstances.” Teamsters

Local Union No. 430 v. Cement Exp., Inc., 841 F.2d 66, 68 (3d Cir. 1988)

(Mansmann, J.). “The rule imposes on counsel a duty to look before leaping and

may be seen as a litigation version of the familiar railroad crossing admonition to

‘stop, look, and listen.’” Lieb v. Topstone Indus., Inc., 788 F.2d 151, 157 (3d Cir.

1986) (Weis, J.). “To comply with these requirements, counsel must conduct ‘a

reasonable investigation of the facts and a normally competent level of legal

research to support the presentation.’” Mary Ann Pensiero, Inc., 847 F.2d 90, 94

(3d Cir. 1988) (quoting Lieb, 788 F.2d at 157).


                                          45
      The Court is convinced that a Rule 11 Sanctions Hearing is appropriate in

this matter for two independent reasons. First, as outlined in detail by this

Memorandum, the claims filed by Plaintiff’s Counsel are meritless and should

otherwise fail on procedural grounds. Moreover, Plaintiff has actively complicated

the disposition of his claims by, among other things, offering incomplete responses

to certain of PPL’s key Undisputed Facts; failing to address any of the Union’s

Undisputed Facts; and advancing allegations in his Second Amended Complaint

that diverge significantly from the actual evidence adduced by Plaintiff.

      Second, this Court notes that Plaintiff’s Counsel is beginning to amass a

track record of questionable and unprofessional conduct in this District and other

forums. For instance, in 2011, Judge Lawrence F. Stengel of the United States

District Court for the Eastern District of Pennsylvania termed one of Plaintiff

Counsel’s actions a “dubious employment discrimination claim,” before dismissing

the attendant Rule 11 Motion on procedural grounds. Knoll v. City of Allentown,

No. CIV.A. 08-04692, 2011 WL 4528336 (E.D. Pa. Sept. 30, 2011). In addition,

less than three months ago, Judge Robert D. Mariani of this Court granted in part a

Rule 11 Motion against Plaintiff’s Counsel in a similar action and imposed a

sanction of “public acknowledgement.” Moore v. Air Methods, Inc., No. 3:14-CV-

0684, 2015 WL 4590988 (M.D. Pa. July 29, 2015). The Court also points the

Parties’ attention toward a pending Pennsylvania Disciplinary Board Decision that


                                          46
will result in Plaintiff Counsel’s “public reprimand.” See 111 DB 2015.


IV. CONCLUSION

      The timeline of this case reveals a consistent failure on the part of Plaintiff

and his counsel to exhaust prescribed grievance procedures and to meet fixed filing

deadlines. Such delinquency, particular with regard to Plaintiff’s LMRA claim,

effectively undercut the merits of his underlying case theory. These threshold

procedural hurdles may not be sidestepped by unwilling or unprecise litigants.

After all, such limitations serve dual, well-established purposes: first, to require

“diligent prosecution of known claims” and second, to “promote justice by

preventing . . . revival of claims that have been allowed to slumber until evidence

has been lost, memories have faded, and witnesses have disappeared.” CTS Corp.

v. Waldburger, 134 S. Ct. 2175, 2183 (2014) (Kennedy, J.). Moreover, the record

is devoid of any evidence even slightly suggesting that Plaintiff’s job was not

reclassified or reevaluated because of his age. Because there are no genuine

disputes of material fact precluding summary judgment as to the presence of these

procedural errors or as to the weakness of Plaintiff’s underlying claims, summary

judgment is granted in favor of both Defendants on all claims in full. PPL’s Motion

for Rule 11 Sanctions is held in abeyance pending a hearing before this Court.

      An appropriate Order follows.



                                          47
     BY THE COURT:



     /s Matthew W. Brann
     Matthew W. Brann
     United States District Judge




48
